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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-00403-SKC
JOE OSTERHOUT,

       Plaintiff,

       v.

TCF FINANCIAL CORPORATION, GARY TORGOW,
THOMAS C. SHAFER, VANCE K. OPPERMAN,
DAVID T. PROVOST, PETER BELL,
KAREN L. GRANDSTRAND, RICHARD H. KING,
RONALD A. KLEIN, BARBARA J. MAHONE,
BARBARA L. MCQUADE, ROGER J. SIT, JULIE H.
SULLIVAN, JEFFREY L. TATE, ARTHUR A. WEISS,
FRANKLIN C. WHEATLAKE, and THERESA M. H. WISE,

      Defendants.
______________________________________________________________________________

NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
______________________________________________________________________________

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Joe Osterhout hereby voluntarily dismisses the above-captioned action.

Defendants have not served an answer or a motion for summary judgment.

Dated: May 10, 2021                                Respectfully submitted,

                                                   HALPER SADEH LLP

                                                   /s/ Daniel Sadeh
                                                   Daniel Sadeh, Esq.
                                                   667 Madison Avenue, 5th Floor
                                                   New York, NY 10065
                                                   Telephone: (212) 763-0060
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                                                   Email: sadeh@halpersadeh.com

                                                   Counsel for Plaintiff



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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on May 10, 2021, a true and correct copy of the annexed
NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
was served in accordance with the Federal Rules of Civil Procedure with the Clerk of the Court
using the CM/ECF system, which will send a notification of such filing to all parties with an email
address of record who have appeared and consented to electronic service in this action.


Dated: May 10, 2021                           /s/ Daniel Sadeh
                                              Daniel Sadeh




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